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AO SI (Rev. 11/11) Criminal Complaint

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, ~. UNITED STATES DISTRICT COURT

for the

Southern District of Texas

 

 

 

United States of America ‘)
t Vv. ) .
Elias ALVARADO ) Case No. 5:20-MJ-1888
Gary Don ARNOLD JR
: - ) t
. ) . .
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of September 20, 2020 in the county of Webb in the
Southern __ District of Texas , the defendant(s) violated: .
Code Section t Offense Description
8 USC 1324 Knowing and in reckless disregard of the fact that an alien had come to, entered, and

remained in the United States in violation of law, did transport and move and attempted to
transport and move and conspired to transport and move such alien within the United
States by means of transportation and otherwise in furtherance of such violation of law.

This criminal complaint is based on these facts:
Continued on Affidavit

; [V]Continued on the attached sheet. /S/Luis Herrera

Complainant's signature

 

Luis Herrera , Border Patrol Agent
Printed name and tifle

 

Submitted by reliable electronic means, sworn to, signature attested telephonically per Fed. R. Crim. P. 4.1:

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Date: September 24, 2020 Ay A. ~ j ea

U/ Judge 's signature
City and state: Laredo, Texas . John“A. Kazen U.S. Magistrate Judge

Printed kafne and title

 
 

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CONTINUATION OF CRIMINAL COMPLAINT

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AFFIDAVIT

In support of Criminal Complaint

UNITED STATES OF AMERICA CRIMINAL COMPLAINT
V.
Elias ALVARADO, Gary Don ARNOLD JR Case Number:
1, On September 20, 2020 at approximately 06:17 p.m., a Border Patrol Agent (BPA) working his assigned duties received

notification via service radio of a camera activation with multiple subjects on image in the Noriecitas Ranch located in
Hebbronville, Texas in Jim Hogg County. Upon arrival at the scene of the activation, two BPAs, observed fresh foot sign of
approximately three individuals that were recently in the area. The BPAs followed the foot sign heading in a northeast direction
towards the intersection of W. Galbraith Street and N Sigrid Avenue in Hebbronville, Texas. At approximately 09:20 p.m., upon
arriving at the intersection, a concerned motorist, flagged down the BPAs and advised the BPAs of subjects being picked up by a
black sedan. The concerned motorist pointed out the vehicle and the BPAs were able to see the vehicle. The BPAs further
investigated by attempting to catch up to the vehicle in order to perform a roving patrol stop. The vehicle began to drive erratically,
swerving several times and increasing and decreasing speed through town, once the BPA unit was near. The BPAs observed the
vehicle abruptly and unsafely veer into a parking lot of a convenience store. At approximately 09:30 p.m., the BPAs drove into the
parking lot to investigate and made contact with the occupants of the vehicle. The BPAs approached the vehicle and identified
themselves as BPAs to the occupants of the vehicle. The BPAs noticed that the driver, front passenger and three individuals in the
rear passenger area, avoided eye contact throughout the encounter. Furthermore, the BPAs observed the three individuals in the rear
passenger area were wearing soiled and torn clothing with leaves stuck on the clothing. The BPAs observed one subject depicted
from the camera activation in the rear passenger area. The BPAs conducted an immigration inspection on all subjects and

determined that all three rear passengers were illegally present in the United States. The driver later identified as Gary Don’
ARNOLD JR. and front seat passenger Elias ALVARADO, both United States Citizens, along with all three undocumented subjects,
were placed under arrest and transported to Hebbronville Border Patrol Station for further processing.

2. Audio/video recorded interviews were conducted of the principal and material witnesses. The following revealed:

3. Principal: Gary DON ARNOLD JR. was read his Miranda rights by the BPAs. He understood his rights and was willing to
provide a statement without legal counsel. ARNOLD JR. stated he needed some money and his friend Elias ALVARADO, offered
to contact someone who had work for them. ARNOLD JR. stated that all they had to do was pick up illegal aliens and transport
them to Houston, Texas. ARNOLD SJR. stated he was then provided by ALVARADO, a location on his phone to pick up the illegal
aliens. ARNOLD JR. stated they went to the location and picked up three illegal aliens. ARNOLD JR. stated that he knew the three
were illegally present because he had previously been told by ALVARADOs contact. ARNOLD JR. stated he was going to be paid
$2,500 United States Dollars to split with ALVARADO. ARNOLD JR. stated they were headed to Houston, Texas with the three
illegals and stopped once at a convenience store.

4. Principat: Elias ALVARADO was read his Miranda rights by the BPAs. He understood his rights and was willing to
provide a statement without legal counsel. ALVARADO stated his friend, ARNOLD JR., drove them to Zapata, Texas to gamble.
ALVARADO stated while they were there, they remained in their vehicle for the duration of their stay. ALVARADO stated that
after they left Zapata, Texas, they went to Hebbronville, Texas and drove to a small dark road. ALVARADO stated that within a
couple of seconds, three individuals ran from the nearby brush and got into their car. ALVARADO stated he did not know what was
going on and that ARNOLD SJR. did not say anything to him. ALVARADO stated that he wanted some cigarettes and instructed
ARNOLD JR. to pull over at a convenience store. :

5. Material Witness: Jose Guadalupe REYNA-Figueroa, a citizen of Mexico, stated he crossed the river illegally near Roma,
Texas on September 18, 2020. REYNA-Figueroa stated he paid a guide $2,500 United States dollars to be smuggled into the United
States. REYNA-Figueroa stated he walked for hours into the brush until he reached Hebbronville, Texas. REYNA-Figueroa stated
he was instructed by the guide to get into a four door, dark colored vehicle, driven by two subjects. REYNA-Figueroa stated one
subject was driving and the other subject was a passenger. REYNA-Figueroa was unable to identify the driver but positively
 

 

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identified the passenger Elias ALVARADO via a six person photo lineup.

6. Material Witness: Olvin AMAYA-Munoz, a citizen of Honduras, was asked if he was willing to conduct an audio video
recorded statement to which AMAYA-Munoz declined to give a statement concerning the smuggling event.

7. Material Witness: Juan Manuel RODRIGUEZ-Medrano, a citizen of Mexico, was re-approached by the BPA and was
asked if he was willing to conduct an audio recorded statement to which RODRIGUEZ-Medrano agreed. RODRIGUEZ-Medrano
stated he crossed the border illegally on September 18, 2020. RODRIGUEZ-Medrano stated he paid $2,000 United States Dollars
in Mexico and was to pay more once reaching his final destination. RODRIGUEZ-Medrano stated he walked through the brush
from the river to the location he was picked up by being guided using a cellphone. RODRIGUEZ-Medrano stated he walked until
they were close enough to hear people in an unknown location. RODRIGUEZ-Medrano stated he was then picked up by a four
door car that was circling around the area, flashing the headlights. RODRIGUEZ-Medrano stated he then flashed down the vehicle
using his cell phone and got inside on the rear passenger area and the vehicle was already occupied by two individuals.
RODRIGUEZ-Medrano stated they drove for about 8 minutes until being apprehended by the BPAs. RODRIGUEZ-Medrano
stated the vehicle he was in was to transport him to Houston, Texas and the driver and front passenger knew they were illegal.
RODRIGUEZ-Medrano was able to identify ARNOLD JR. as the driver and ALVARADO as the front passenger of the vehicle via
a six person photo lineup.

SUBSCRIBED and SWORN to before me on

24th day of September, 2020

   

 

/S/ Herrera, Luis Border Patrol Agent

 

Signature of Complainant

 
